Case: 1:01-cv-09557 Document #: 87 Filed: 12/29/03 Page 1 of 3 PagelD #:1766

 

me, O
UNITED STATES DISTRICT COURT |
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION
Cheryl Patterson, et.al., and all others similarly —_)
situated, )
)
Plaintiffs )
} Case No. 01 C 9557
-VS- ) Judge Hibbier
)
Michael J. Sheehan, in his official capacity as ) . =a
Sheriff of Cook County, Illinois, the County of ) FF L E My
Cook, a unit of local Government, et.al. )
) D 4
Defendants ) EG 2 9 2003

MICHAEL W. DOBBING
CLERK, U.S. DISTRICT COURT

Plaintiffs, through their Counsel, ANDREOU & CASSON, LTD., respectfully
move to voluntary dismiss Defendants Joseph Ranzino, William Pellegrini, Thomas
Fitzgerald, Joseph Logue Michael Ricci and Kenneth Tworek. In support, Plaintiffs state
as follows:

i. On December 11, 2003, Plaintiffs’ counsel sent Defendants counsel a letter
proposing a Joint Stipulation to dismiss Defendants Joseph Ranzino, William Pellegrini, DOCKETE D
Thomas Fitzgerald, Joseph Logue Michael Ricci and Kenneth Tworek. (See Attached EUAN 12 2004
A.)

2. As of the filing of this Motion, Defendants have not responded to this
request.

3. On December 12, 2003 the Defendants filed a Motion to Dismiss Michael
Ricci.

4. Thus, pursuant to Federal Rules of Civil Procedure Rule 41, Plaintiffs seek
leave to voluntarily dismiss Defendants Joseph Ranzino, William Pellegrini, Thomas
Fitzgerald, Joseph Logue Michael Ricci and Kenneth Tworek.

WHEREFORE, for the above stated reasons, Plaintiffs respectfully request leave
to voluntarily dismiss Defendants Joseph Ranzino, William Pellegrini, Thomas
Fitzgerald, Joseph Logue Michael Ricci and Kenneth Tworek from Plaintiffs’ Third I

i

Amended Complaint.
Case: 1:01-cv-09557 Document #: 87 Filed: 12/29/03 Page 2 of 3 PagelD #:1766

Luke A. Casson, Esq.
ANDREOU & CASSON, LTD.
332 South Michigan, Suite 1144
Chicago, Illinois 60604

(312) 935-2000

 

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Case: 1:01-cv-09557 Document #: 87 Filed: 12/29/03 Page 3 of 3 PagelD #:1766

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

 

Chery! Patterson, Jeffrey Antone, Samuel Scaife, )
Bernard Littleton, Martin Schaeffer, Darlene James and =)
Rosa Price, and all others similarly situated, )
«
Plaintiffs ) eye te
) Case No. O1 C 9557 and
-Vs- } Judge Hibbler JAN 13
)
Michael J. Sheehan, in his official capacity as Sheriffof )
Cook County, Illinois, the County of Cook, a unit of local )
Government, et.al. )
)
Defendants ) E |
NOTICE OF MOTION LE fF
fr yo,
TO: MAUREEN FEERICK DES 2 g 2003
Assistant States Attorney Micy
500 Daley Center CLERK, Us” OM bg 3B)
Chicago, Illinois 60602 SS Fey Con
(312) 603-3369 RT

Please take notice that on WEDNESDAY, JANUARY 7, 2003 at 9:30a.m. I will appear
before the Honorable Judge Hibbler, or any other judge sitting in his/her stead in the United
States District Court, Northern District of Wlinois, Eastern Division, Dirksen Federal Building,
219 South Dearborn Street, Chicago, Illinois and then and there present the attached MOTION
FOR VOLUNTARY DISMISSAL, a copy of which is hereby served upon you.

Luke A. Casson . Wes Me
Andreou & Casson, Ltd, Osa - D
332 South Michigan Ave., Suite 1144 d 2.
Chicago, Illinois 60604 < bug

(312) 935-2000
PROOF OF SERVICE

The undersigned, an attorney, under penalties as provided by law pursuant to II Rev. Stat. Chap.
110 Sec. 1-109, hereby certify and state that the attached documents were sent to the designated attorneys
by depositing same in the U.S. Mail at Chicago, Itlinois, 60604, before 5:00 pms with proper postage

 

 

prepaid on this 29™ day of DECEMBER, 2003.
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an eG cameo
a Lake A. Casson
